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7088 MRS/PJS
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DARRELL W. FAIR,                    )
                                    )
                     Plaintiff,     )
                                    )
           vs.                      ) No. 15 CV 4361
                                    )
MAJOR J. MCGARVEY, DR. OBAISI S.,   ) Judge Gary Feinerman
DR. MARTIJA, BOBBY MATTISON, WARDEN )
HARDY, LT. KIRK,                    )
                                    )
                     Defendants.    )

     DEFENDANT, DR. OBAISI’S, ANSWER AND AFFIRMATIVE DEFENSES TO
              PLAINTIFF’S AMENDED COMPLAINT AT LAW

       NOW COMES DEFENDANT, Dr. Obaisi, by his attorneys, Cunningham, Meyer &

Vedrine P.C., states as follows as his Answer and Affirmative Defenses to Plaintiff’s Amended

Complaint at Law:

                                            Objection:

       Plaintiff’s Complaint fails to meet the pleading requirements set forth by Federal Rule of

Civil Procedure 8(d)(1) as it contains lengthy paragraphs that do not clearly differentiate between

the various allegations in a manner that can be individually admitted or denied and on the basis

that it does not provide a simple, concise, and direct statement of each allegation.

                                       Statement of Claim

       This defendant denies all allegations contained within plaintiff’s statement of claim.

                                               Relief

       Defendant denies Plaintiff is entitled to any relief as stated in this section and prays for

judgment in his favor and against Plaintiff and for any other relief this court deems just.

                                      Affirmative Defenses

                                    First Affirmative Defense
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       1.         The defendant affirmatively states that the plaintiff’s complaint fails to state a

claim upon which relief can be granted pursuant to 42 U.S.C. § 1983 involving rights secured by

the United States Constitution, as the conduct claimed as actionable does not rise to the standard

of seriousness required pursuant to that statute.

       2.         To assert a claim for cruel and unusual punishment under the Eight Amendment

of the Constitution, the plaintiff must show deliberate indifference to the serious medical needs

of a prisoner. Estelle v. Gamble, 429 U.S. 97 (1976).

       3.         In order to properly show a violation of the Eighth Amendment based upon

alleged improper medical care it must be shown that the failure to provide proper medical care

constituted an unnecessary and wanton infliction of pain or was “repugnant to the consciousness

of mankind.” Id.

       4.         To demonstrate that a prison official was deliberately indifferent to an inmate’s

serious medical need, the prisoner must show “that he official knew of and disregarded an

excessive risk to inmate health.” Id.

       5.         Plaintiff does not allege facts that show either (1) deliberate indifference or (2) an

objectively serious medical condition, and as such, he has failed to state a cause of action as to

this defendant.

                                        Second Affirmative Defense

       1.         To the extent plaintiff may be seeking relief from this defendant in his alleged

official capacity, this claim should be dismissed as to the extent this defendant, as an official of

the state, is immune.



                                        Third Affirmative Defense

                                                    2
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       1.      Plaintiff’s complaint is barred, in that plaintiff failed to properly exhaust his

administrative remedies prior to the filing of this litigation pursuant to the requirement set forth

in Pavey v. Conley, 528 F. 3d 494 (7th Cir. 2008).


                                  JURY TRIAL DEMANDED



                                      Respectfully submitted,

                                      CUNNINGHAM, MEYER & VEDRINE, P.C.

                                      __/s/ Peter J. Strauss ______________________
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